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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                   Eastern Division


________________________________________________
                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
   Plaintiff,                                    )               Civil Action No.
                                                 )
v.                                               )
                                                 )
BEDFORD ENVIRONMENTAL SERVICES, LLC              )
(d/b/a Ohio Reclamation and Waste Services, LLC) )
                                                 )
and                                              )
                                                 )
KRICK ROAD HOLDINGS, LLC                         )
                                                 )
   Defendants.                                   )
________________________________________________)

                                         COMPLAINT

       Plaintiff, the United States of America, by the authority of the Attorney General, through

its undersigned attorneys, and at the request of the Administrator of the United States

Environmental Protection Agency (EPA), hereby files this Complaint and alleges the following:

                           I.      PRELIMINARY STATEMENT

       1.      This is a civil action brought pursuant to Section 3008 of the Resource

Conservation and Recovery Act (RCRA), 42 U.S.C. § 6928, against Defendants Bedford

Environmental Services, LLC (d/b/a Ohio Reclamation and Waste Services, LLC) and Krick

Road Holdings, LLC (collectively Defendants) with respect to a hazardous waste and solvent

reclamation facility located in Bedford, Ohio (Bedford Facility).




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                      II.     JURISDICTION, VENUE AND AUTHORITY

        2.      This Court has jurisdiction over the subject matter of this action pursuant to

Section 3008(a)(1) and (g) of RCRA, 42 U.S.C. §§ 6928(a)(1) and (g); and 28 U.S.C. §§ 1331,

1345 and 1355. The Court has personal jurisdiction over the Parties.

        3.      Venue is proper in this judicial district pursuant to Section 3008(a) and (g) of

RCRA, 42 U.S.C. §§ 6928(a) and (g); and 28 U.S.C. §§ 1391(b) and (c), 1395(a) because

Defendants are located in this judicial district and the violations alleged herein occurred within

this district, at the Bedford Facility.

        4.      Authority to bring this action is vested in the United States Department of Justice

pursuant to Section 3008(a) of RCRA, 42 U.S.C. § 6928(a); and 28 U.S.C. §§ 516 and 519.

        5.      Notice of commencement of this action has been given to the State of Ohio

pursuant to 42 U.S.C. § 6928(a)(2).

                                          III.   PARTIES

        6.      Plaintiff is the United States of America, acting at the request of the United States

Environmental Protection Agency, an agency of the United States.

        7.      Defendant Bedford Environmental Services, LLC (Bedford) is a corporation

organized under the laws of the State of Delaware.

        8.      Defendant Krick Road Holdings, LLC (KRH) is a corporation organized under

the laws of the State of Delaware.

        9.      Each Defendant is a "person" as defined by Section 1004(15) of RCRA,

42 U.S.C. § 6903(15).

                IV.         STATUTORY AND REGULATORY FRAMEWORK

        10.     Congress enacted RCRA on October 21, 1976, to amend the Solid Waste Disposal

Act (SWDA) and further amended the SWDA through the Hazardous and Solid Waste

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Amendments (HSWA) in 1984 (collectively RCRA). RCRA establishes a "cradle-to-grave"

program for regulating the generation, transportation, treatment, storage, and disposal of

hazardous waste. See 42 U.S.C. § 6901 et seq.

A.     RCRA Permitting Requirements

       11.     At all relevant times herein, Section 3005(a) of RCRA, 42 U.S.C. § 6925(a), has

prohibited the treatment, storage, or disposal of hazardous waste except in accordance with a

permit. See also 40 C.F.R. § 270.1(b) and (c).

       12.     Pursuant to Section 3005 of RCRA, 42 U.S.C. § 6925, EPA has promulgated

regulations that set forth permitting requirements for the treatment, storage, and disposal of

hazardous wastes which are codified at 40 C.F.R. Part 270.

       13.     As part of the HSWA, pursuant to Section 3004(n) of RCRA, 42 U.S.C.

§ 6924(n), EPA has promulgated regulations for the monitoring and control of air emissions at

hazardous waste treatment, storage, and disposal facilities (RCRA Air Emission Regulations)

including the Equipment Leak Organic Air Emission Standards for Owners and Operators of

Hazardous Waste Treatment, Storage, and Disposal Facilities, effective on December 21, 1990

(55 Fed. Reg. 25,454 -519) and codified at 40 C.F.R. § 264.1030-65, and the Air Emission

Standards for Tanks, Surface Impoundments, and Containers, effective on December 6, 1996 (59

Fed. Reg. 62,896 -953) and codified at 40 C.F.R. § 264.1080-90.

       14.     Pursuant to Section 3006 of RCRA, 42 U.S.C. § 6926, EPA may authorize a state

to administer a state hazardous waste program in lieu of the federal RCRA program when it

deems the state program to be equivalent to the federal program. In such cases, the authorized

state shall issue the RCRA permits required by Section 3005(a), 42 U.S.C. § 6925(a). 42 U.S.C.

§ 6926(b).



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       15.     EPA has granted final authorization to the Ohio Environmental Protection Agency

(OEPA) to administer its hazardous waste program in lieu of certain parts of the federal program

effective June 30, 1989. See 40 C.F.R. § 272.1800-01; 54 Fed. Reg. 27,173 (June 28, 1989); 82

Fed. Reg. 43,316 (Sept. 15, 2017).

       16.     However, EPA has not authorized OEPA to administer the RCRA Air Emission

Regulations. See 82 Fed. Reg. 43,316 (Sept. 15, 2017). EPA continues to implement those

requirements and prohibitions in Ohio, including issuing RCRA permits for air emissions subject

to such requirements. See 68 Fed. Reg. 3429 (Jan. 24, 2003); 72 Fed. Reg. 61,063 (Oct. 29,

2007); 77 Fed. Reg. 15,966-68 (Mar. 19, 2012); 82 Fed. Reg. 43316 (Sept. 15, 2017).

Accordingly, the owners and operators of hazardous waste treatment, storage, and disposal

facilities must obtain a RCRA permit from EPA for those processes subject to the requirements

and prohibitions set forth in the RCRA Air Emission Regulations.

B.     RCRA Air Emissions Regulations

       i.      RCRA Subpart BB: Air Emission Standards for Equipment Leaks

       17.     At all relevant times herein, the RCRA Air Emission Regulations, 40 C.F.R.

§ 264.1050(c), have provided that until owners and operators of facilities that “treat, store, or

dispose of hazardous wastes” receive a permit pursuant to Section 3005 of RCRA that

incorporates the requirements of 40 C.F.R. § 264.1050-65, such owners and operators are subject

to the Air Emission Standards for Equipment Leaks codified at 40 C.F.R. Part 265 Subpart BB,

40 C.F.R. § 265.1050-1064 (RCRA Subpart BB).

       18.     At all relevant times herein, RCRA Subpart BB has applied to “equipment that

contains or contacts hazardous wastes with organic concentrations of at least 10 percent by

weight that are managed in . . . (1) A unit that is subject to the permitting requirements of



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40 CFR part 270.” 40 C.F.R. § 265.1050(b). Definitions for RCRA Subpart BB are set forth at

40 C.F.R. § 264.1051 (incorporated by reference into RCRA Subpart BB, 40 C.F.R. § 265.1051).

       19.      At all relevant times herein, RCRA Subpart BB has required the owners/

operators of facilities subject to RCRA Subpart BB to adhere to the following requirements

relevant to this Complaint.

                  a.   Monitor subject equipment for leaks in equipment in compliance with

 Reference Method 21 as set forth in 40 C.F.R. Part 60. 40 C.F.R. § 265.1063(b)(1). The

 monitoring instrument must be calibrated using zero air (less than 10 ppm hydrocarbon in air)

 and a mixture of methane or n-hexane and air at a concentration of approximately, but less

 than, 10,000 ppm methane or n-hexane. 40 C.F.R. § 265.1063(b)(4).

                  b.   Record certain information for each piece of equipment subject to RCRA

 Subpart BB. 40 C.F.R. § 265.1064(b).

                  c.   Mark each piece of equipment to which RCRA Subpart BB applies in a

 manner that allows it to be readily distinguished from other pieces of equipment. 40 C.F.R.

 § 265.1050(c).

                  d.   Monitor pumps and valves monthly for leaks by specified methods and

 visually inspect each pump weekly for indications of liquids dripping from the pump seal.

 40 C.F.R. §§ 265.1052(a), 1057(a).

       ii.      RCRA Subpart CC: Air Emission Standards for Tanks, Surface
                Impoundments, and Containers

       20.      At all relevant times herein, the RCRA Air Emission Regulations, 40 C.F.R.

§ 264.1080(c), provide that until owners and operators of facilities that “treat, store, or dispose of

hazardous wastes” receive a permit pursuant to Section 3005 of RCRA that incorporates the

requirements of 40 C.F.R. § 264.1080-1090, such owners and operators are subject to the Air


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Emission Standards for Tanks, Surface Impoundments, and Containers which are codified at

40 C.F.R. Part 265 Subpart CC, 40 C.F.R. § 265.1080-90 (RCRA Subpart CC).

        21.     At all relevant times herein, RCRA Subpart CC has applied to owners and

operators of all facilities that treat, store, or dispose of hazardous waste in tanks, surface

impoundments, or containers subject to either subpart I, J, or K of 40 C.F.R. Part 265. The

requirements in 40 C.F.R. Part 265 Subpart K apply to “facilities that use tank systems for

storing or treating hazardous waste.” 40 C.F.R. § 265.190.

        22.     At all relevant times herein, RCRA Subpart CC required the owners/operators of

facilities subject to RCRA Subpart CC to comply with the following requirements that are

relevant to this Complaint.

                  a.    Measure the maximum organic vapor pressure in each tank using a waste

  stream that is representative of the hazardous waste composition stored or treated in the tank.

  See 40 C.F.R. §§ 265.1084(c)(2), 1085(b) and (c).

                  b.    Maintain records for subject tanks including a record for each inspection

  and determination of maximum organic vapor pressure required by 40 C.F.R. § 265.1085(b)

  and (c). 40 C.F.R. § 265.1090(b).

C.      RCRA Enforcement Provisions

        23.     Section 3008(g) of RCRA, 42 U.S.C. § 6928(g), authorizes civil penalties of up to

$25,000 per day for each violation of RCRA or the regulations promulgated thereunder. This

statutory maximum civil penalty has been increased to reflect inflation pursuant to the Federal

Civil Penalties Inflation Adjustment Act (28 U.S.C. § 2461), as amended, to $72,718 per day per

violation for each violation occurring after November 2, 2015. See 73 Fed. Reg. 75,340-46

(Dec. 11, 2008); 78 Fed. Reg. 66,643-48 (Nov. 6, 2013); 81 Fed. Reg. 43,095 (July 1, 2016);



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82 Fed. Reg. 3633 (Jan. 12, 2017); 83 Fed. Reg. 1190 (Jan. 10, 2018), all codified at 40 C.F.R.

Part 19.

       24.     Pursuant to Section 3008(a) of RCRA, 42 U.S.C. § 6928(a), any person who

violates any requirement of Subchapter II of RCRA or the regulations promulgated thereunder

may be liable for appropriate relief, including a temporary or permanent injunction.

                            V.       GENERAL ALLEGATIONS

       25.     The Bedford Facility is located at 7013 Krick Road in Bedford, Ohio.

       26.     From at least November 23, 2017 through the present, Defendant KRH has been

the “owner” and Defendant Bedford the “operator” of the Bedford Facility within the meaning of

RCRA and the regulations promulgated thereunder including RCRA Subparts BB and CC. See

42 U.S.C. §§ 6924, 6925, 40 C.F.R. §§ 264.1, 264.1050-90, 265.1, 265.1050-91, 270.1-5.

       27.     During the time period that Defendants have owned and operated the Bedford

Facility, it has engaged in the “treatment,” “storage” and/or “disposal” of “hazardous wastes”

within the meanings of Sections 1004 and 3005 of RCRA, 42 U.S.C. §§ 6903(3), (5), (33), (34)

and 6925(a), and regulations promulgated thereunder including 40 C.F.R. Parts 264, 265, and

270. See 40 C.F.R. §§ 264.1050, 264.1080, 265.1, 265.1050, 265.1080, 270.1, 270.2.

       28.     On or about December 28, 2006, the prior owner of the Bedford Facility obtained

a permit from OEPA pursuant to Ohio Rev. Code Chapter 3734.05(I) of the Ohio Revised Code

and Rule 3745-50-51(D) of Ohio Admin. Code that authorized the Bedford Facility to store,

treat, and dispose of hazardous wastes subject to requirements under those RCRA regulations

that EPA had authorized the State of Ohio to administer.

       29.     The OEPA permit acquired by the prior owner of the Bedford Facility described

in Paragraph 28 above was transferred to Defendants on or about December 7, 2017.



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       30.     EPA has not approved the State of Ohio to administer the regulations under

40 C.F.R. Part 264, Subparts BB or CC, or 40 C.F.R. Part 265, Subparts BB or CC. See 82 Fed.

Reg. 43,316 (Sept. 15, 2017).

       31.     The permit issued by OEPA described in Paragraph 28 above for the Bedford

Facility does not authorize the storage, treatment, or disposal of hazardous wastes subject to

regulation under RCRA Subparts BB or CC (40 C.F.R. §§ 264.1050-1090, 265.1050-090) nor

does it include requirements pertaining to air emissions from equipment leaks or tanks that are

set forth in RCRA Subparts BB or CC (40 C.F.R. §§ 264.1050-1090, 265.1050-090).

       32.     During the time period that Defendants have owned and operated the Beford

Facility, the Bedford Facility has had pumps and valves that constitute “equipment” within the

meaning of RCRA Subpart BB (see 40 C.F.R. § 264.1031 (incorporated by reference into

40 C.F.R. § 265.1051)) that contains or contacts hazardous wastes with organic concentrations of

at least 10 percent by weight that are managed in a unit that is subject to the permitting

requirements of 40 CFR Part 270. As such, these pumps and valves are subject to the

requirements of RCRA Subpart BB. See 40 C.F.R. §§ 264.1050(b), 265.1050(b).

       33.     During the time period that Defendants have owned and operated the Beford

Facility, the Bedford Facility has used tanks to treat, store, and/or dispose of hazardous wastes.

As such, these tanks are subject to the requirements of RCRA Subpart CC. See 40 C.F.R.

§§ 264.1080, 265.1080.

       34.     The violations alleged herein are based on information obtained in a September

2012 EPA inspection of the Bedford Facility, and information provided by the Defendants and

the prior owners/operators of the Bedford Facility.




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                                   FIRST CLAIM FOR RELIEF

                                  Claim Against Defendants
                 for Treatment, Storage, and/or Disposal of Hazardous Wastes
                          Without a Federally-issued RCRA Permit

        35.     The allegations in Paragraphs 1 through 34 are re-alleged and incorporated by

reference as if fully set forth herein.

        36.     At all relevant times herein, Section 3005(a) of RCRA and the regulations

promulgated thereunder prohibited the treatment, storage, or disposal of hazardous waste except

in accordance with a permit issued pursuant to RCRA. 42 U.S.C. § 6925(a); 40 C.F.R.

§ 270.1(b) and (c).

        37.     The permit issued by OEPA for the Bedford Facility described in Paragraph 28

above does not authorize the treatment, storage, or disposal of hazardous wastes subject to

regulation under 40 C.F.R. Part 264 Subparts BB and CC, or 40 C.F.R. Part 265 Subparts BB

and CC.

        38.     EPA has not issued any permit for the Bedford Facility authorizing the treatment,

storage, or disposal of hazardous wastes subject to regulation under 40 C.F.R. Part 264 Subparts

BB and CC, or 40 C.F.R. Part 265 Subparts BB and CC.

        39.     From at least November 23, 2017 to the present, Defendants have treated, stored,

and/or disposed of hazardous wastes subject to regulation under 40 C.F.R. Part 264 Subparts BB

and CC, or 40 C.F.R. Part 265 Subparts BB and CC, without authorization by a RCRA permit in

violation of Section 3005(a) of RCRA and the regulations promulgated thereunder (42 U.S.C.

§ 6925(a); 40 C.F.R. §§ 270.1(b) and (c)).




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        40.     As a result of the violations set forth in Paragraph 39 above, pursuant to Section

3008(g) of RCRA, Defendants are liable for civil penalties up to the amounts set forth in

Paragraph 23 above.

                                 SECOND CLAIM FOR RELIEF

                                      Claim Against Defendants
                                   for Failure to Mark Equipment
                                 in Violation of RCRA Subpart BB

        41.     The allegations in Paragraphs 1 through 34 are re-alleged and incorporated by

reference as if fully set forth herein.

        42.     At all relevant times herein, RCRA Subpart BB required Defendants to mark each

piece of equipment to which RCRA Subpart BB applies in a manner that allows it to be readily

distinguished from other pieces of equipment. 40 C.F.R. § 265.1050(c).

        43.     On one or more occasions beginning on or about November 23, 2017 through on

or about about May 15, 2018, Defendants failed to mark one or more valves and pumps to which

RCRA Subpart BB applies in a manner that allowed it to be readily distinguished from other

pieces of equipment in violation of RCRA Subpart BB (40 C.F.R. § 265.1050(c)).

        44.     As a result of the violations set forth in Paragraph 43 above, pursuant to Section

3008(g) of RCRA, Defendants are liable for civil penalties up to the amounts set forth in

Paragraph 23 above.

                                  THIRD CLAIM FOR RELIEF

                                    Claim Against Defendants
                           for Failure to Monitor for Equipment Leaks
                                in Violation of RCRA Subpart BB

        45.     The allegations in Paragraphs 1 through 34 are re-alleged and incorporated by

reference as if fully set forth herein.




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        46.      At all relevant times herein, RCRA Subpart BB required Defendants to conduct

monitoring and inspections of equipment subject to RCRA Subpart BB for leaks at specified

frequencies using specified methods including Method 21 as set forth in 40 C.F.R. Part 60.

40 C.F.R. §§ 265.1052(a), 1057, 1063(b). The monitoring instrument must be calibrated using

zero air (less than 10 ppm hydrocarbon in air) and a mixture of methane or n-hexane and air at a

concentration of approximately, but less than, 10,000 ppm methane or n-hexane. 40 C.F.R.

§ 265.1063(b)(4).

        47.      On one or more occasions beginning on or about November 23, 2017 through on

or about May 15, 2018, Defendants failed to monitor and/or inspect one or more pieces of

equipment subject to RCRA Subpart BB for leaks in equipment at the required frequencies using

specified methods in violation of RCRA Subpart BB (40 C.F.R. §§ 265.1052(a), 1063(b)).

        48.      As a result of the violations set forth in Paragraph 47 above, pursuant to Section

3008(g) of RCRA, Defendants are liable for civil penalties up to the amounts set forth in

Paragraph 23 above.

                                 FOURTH CLAIM FOR RELIEF

                                    Claim Against Defendants
                            for Failure to Record Certain Information
                                in Violation of RCRA Subpart BB

        49.      The allegations in Paragraphs 1 through 34 are re-alleged and incorporated by

reference as if fully set forth herein.

        50.      At all relevant times herein, RCRA Subpart BB required Defendants to record

certain information for each piece equipment subject to RCRA Subpart BB. 40 C.F.R.

§ 265.1064(b).

        51.      On one or more occasions beginning on or about November 23, 2017 through on

or about May 15, 2018, Defendants failed to record the information required by RCRA Subpart

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BB for one or more pieces of equipment subject to RCRA Subpart BB, in violation of RCRA

Subpart BB (40 C.F.R. § 265.1064(b)).

        52.      As a result of the violations set forth in Paragraph 51 above, pursuant to Section

3008(g) of RCRA, Defendants are liable for civil penalties up to the amounts set forth in

Paragraph 23 above.

                                   FIFTH CLAIM FOR RELIEF

                                    Claim Against Defendants
              for Failure to Determine Maximum Organic Vapor Pressure in Tanks
                                in Violation of RCRA Subpart CC

        53.      The allegations in Paragraphs 1 through 34 are re-alleged and incorporated by

reference as if fully set forth herein.

        54.      At all relevant times herein, RCRA Subpart CC required Defendants to measure

the maximum organic vapor pressure in each tank using a waste stream that is representative of

the hazardous waste composition stored or treated in the tank. See 40 C.F.R. §§ 265.1084(c)(2),

1085(b) and (c).

        55.      On one or more occasions beginning on or about November 23, 2017 through on

or about March 22, 2018, Defendants failed to measure the maximum organic vapor pressure in

one or more tanks subject to RCRA Subpart CC using a waste stream that is representative of the

hazardous waste composition stored or treated in the tank in violation of RCRA Subpart BB

(40 C.F.R. §§ 265.1084(c)(2), 1085(b) and (c)).

        56.      As a result of the violations set forth in Paragraph 55 above, pursuant to Section

3008(g) of RCRA, Defendants are liable for civil penalties up to the amounts set forth in

Paragraph 23 above.




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                                   SIXTH CLAIM FOR RELIEF

                                     Claim Against Defendants
                                  for Failure to Maintain Records
                                 in Violation of RCRA Subpart CC

        57.     The allegations in Paragraphs 1 through 34 are re-alleged and incorporated by

reference as if fully set forth herein.

        58.     At all relevant times herein, RCRA Subpart CC required Defendants to prepare

and maintain for three years records for tanks subject to RCRA Subpart CC including a record

for each initial and annual tank inspection required by 40 C.F.R. § 265.1085. 40 C.F.R.

§§ 265.1084(c)(4)(iv) and 1090(b)).

        59.     Beginning on or about November 23, 2017, Defendants failed to maintain records

of inspections for one or more tanks subject to RCRA Subpart CC including a record for each

inspection required during the prior three years by 40 C.F.R. § 265.1085 in violation of RCRA

Subpart CC (40 C.F.R. §§ 265.1084(c)(4)(iv) and 1090(b)).

        60.     As a result of the violations set forth in Paragraph 59 above, pursuant to Section

3008(g) of RCRA, Defendants are liable for civil penalties up to the amounts set forth in

Paragraph 23 above.

                                          PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that this Court:

A.      Assess against Defendants a civil penalty, and enter judgment against Defendants and in

favor of the United States, in an amount up to $72,718 per day per violation for each violation

occurring after November 2, 2015.

B.      Grant such other relief as this Court may deem just and proper.




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             Respectfully submitted,


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                                           • ~   \   11~~
                                         Deputy Section Chief
                                         Environmental Enforcement Section
                                         Environment and Natural Resources Division
                                         U.S. Department of Justice


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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            Bedford Environmental Services, LLC
United States of America                                                                                    Krick Road Holdings, LLC

    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant              Cuyahoga
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Elizabeth L. Loeb, U.S. Department of Justice                                                               Kevin D. Margolis
P.O. Box 7611                                                                                               200 Public Square, Suite 2300
Washington, D.C. 20044                                                                                      Cleveland, OH 44114-2378

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1        u 1      Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           43 U.S.C. 6928
VI. CAUSE OF ACTION Brief description of cause:
                                           Claims under the Resource Conservation and Recovery Act
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
01/29/2019                                                              /s/ Elizabeth L. Loeb
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
